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                                                                    9   Helton, individually and on behalf of all others
                                                                        similarly situated.
                                                                   10
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                                                                   11                          UNITED STATES DISTRICT COURT
                                                                                            SOUTHERN DISTRICT OF CALIFORNIA
                                   2550 FIFTH AVENUE, 11TH FLOOR




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                                                                        Troy Helton and Melanie Helton,                Case No.: '14CV2165 WQHMDD
                                                                   14   individually and on behalf of all others
                                                                        similarly situated,                            CLASS ACTION COMPLAINT FOR
                                                                   15                                                  VIOLATION OF THE FAIR CREDIT
                                                                                     Plaintiffs,                       REPORTING ACT
                                                                   16
                                                                              v.                                       Jury Trial Demanded
                                                                   17
                                                                        Vivint, Inc., Vivint Solar, Inc.
                                                                   18
                                                                                     Defendants.
                                                                   19

                                                                   20

                                                                   21         Plaintiffs Troy Helton and Melanie Helton bring this action on their own behalf,
                                                                   22   and on behalf of all others similarly situated, and allege based on the investigation of
                                                                   23   counsel, the existing public record and on information and belief, as follows:
                                                                   24                                NATURE OF THE ACTION
                                                                   25         1.     This is a Class Action lawsuit brought by Plaintiffs (as defined in
                                                                   26   paragraph 18 below), on their own behalf and on behalf of all other persons similarly
                                                                   27   situated, against the Defendants (as defined in paragraphs 15-17 below) who have
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                                                                    1   operated their businesses in violation of 15 U.S.C. § 1681 et seq. (“Fair Credit
                                                                    2   Reporting Act” or “the Act”) by unlawfully obtaining Consumer Reports (as that term
                                                                    3   is defined in 15 U.S.C. § 1681a(d) and referred to herein as “Credit Reports”) on
                                                                    4   potential customers of Defendants’ services without the knowledge or consent of
                                                                    5   those potential customers.
                                                                    6         2.     The Fair Credit Reporting Act strictly limits the circumstances under
                                                                    7   which a person or entity may obtain a Credit Report relating to a consumer, and
                                                                    8   generally prohibits a person or entity from obtaining a consumer’s Credit Report
                                                                    9   without the consumer’s authorization.
                                                                   10         3.     The only circumstance when a person or entity may obtain a consumer’s
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                                                                   11   Credit Report, without first obtaining authorization from the consumer, is when the
                                                                        Credit Report is obtained for the limited purpose of offering that consumer a “firm
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                                                                   13   offer of credit or insurance.” Obtaining a Credit Report for any other purpose without
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                                                                   14   the consumer’s authorization is strictly prohibited.
                                                                   15         4.     The Act provides that any person or entity who willfully fails to comply
                                                                   16   with the requirements of the Act with respect to any consumer is liable to that
                                                                   17   consumer for statutory damages of up to $1,000 per incident, punitive damages, costs
                                                                   18   of suit, and attorney’s fees.
                                                                   19         5.     The Act further provides that any person or entity who obtains a Credit
                                                                   20   Report on a consumer, knowingly without a permissible purpose, is liable to that
                                                                   21   consumer for statutory damages of up to $1,000 per incident, punitive damages, costs
                                                                   22   of suit, and attorney’s fees.
                                                                   23         6.     In violation of the Act, Defendants’ sales techniques involve obtaining
                                                                   24   Credit Reports on each adult residing in a residence prior to presenting their services
                                                                   25   to the residents. These adult residents – including Plaintiffs – are consumers and
                                                                   26   Defendants’ potential customers. The information in the Credit Reports of these
                                                                   27   potential customers is used to give Defendants’ salespersons a competitive advantage,
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                                                                    1   as the salesperson will not proceed with the sales presentation of the services, if no
                                                                    2   adult in the residence qualifies for the services. Obtaining these Credit Reports also
                                                                    3   provides an advantage to Defendants insofar as Defendants would advise their
                                                                    4   salespersons which services to offer the adult residents. The salespersons can thus
                                                                    5   limit their presentation only to the services for which the adult residents can qualify.
                                                                    6         7.     In further violation of the Act, Defendants obtain the Credit Reports of
                                                                    7   potential customers – including Plaintiffs – despite knowing that the potential
                                                                    8   customers have not authorized Defendants to obtain these Credit Reports, and despite
                                                                    9   knowing that they (the Defendants) have no permissible purpose in obtaining the
                                                                   10   Credit Reports.
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                                                                   11         8.     Defendants did not obtain the Credit Reports of potential customers –
                                                                        including Plaintiffs – for the purpose of offering a “firm offer of credit or insurance.”
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                                                                   13         9.     There is nothing in the Act that allows Defendants to obtain these Credit
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                                                                   14   Reports, and Defendants’ willful failure to comply with the Act subjects Defendants
                                                                   15   to liability under the Act.
                                                                   16         10.    The purpose of this action is to hold Defendants accountable and to
                                                                   17   obtain maximum legal and equitable relief from Defendants for engaging in unlawful
                                                                   18   business acts, practices and/or conduct. This action seeks relief on the basis of
                                                                   19   multiple violations of federal law, that will include as a remedy for the Class
                                                                   20   members, inter alia, the following:
                                                                   21                (a)    Actual damages for the Defendants’ misconduct complained of
                                                                   22   herein;
                                                                   23                (b)    Statutory damages for the Defendants’ misconduct complained of
                                                                   24   herein;
                                                                   25                (c)    Punitive damages for the Defendants’ misconduct complained of
                                                                   26   herein;
                                                                   27                (d)    Injunctive relief; and
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                                                                    1                (e)    Attorney’s fees.
                                                                    2                               JURISDICTION AND VENUE
                                                                    3          11.   This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331,
                                                                    4   in that this is a civil action arising under the Fair Credit Reporting Act.
                                                                    5          12.   Plaintiffs allege, upon information and belief, that each of the Defendants
                                                                    6   conducts professional and commercial activities in California on a substantial,
                                                                    7   continuous, and systematic basis and therefore each of the Defendants is subject to the
                                                                    8   general jurisdiction of the courts of this state.
                                                                    9          13.   Plaintiffs further allege, upon information and belief that many of the
                                                                   10   claims asserted in this Complaint arise out of or are related to the Defendants’
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                                                                   11   professional and commercial activities within California, and therefore Defendants are
                                                                        subject to the specific jurisdiction in California.
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                                                                   13          14.   Venue is proper in this district under 28 U.S.C. § 1391(b)(2), because a
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                                                                   14   substantial part of the events or omissions giving rise to the claim occurred in this
                                                                   15   district.
                                                                   16                                            PARTIES
                                                                   17          15.   Upon information and belief, Defendant Vivint, Inc. (“Vivint”) is a
                                                                   18   corporation that is incorporated in Utah and has its principal place of business in
                                                                   19   Provo, Utah. Vivint is a home automation and security company.
                                                                   20          16.   Upon information and belief, Defendant Vivint Solar, Inc. (“Vivint
                                                                   21   Solar”) is a corporation that is incorporated in Delaware and has its principal place of
                                                                   22   business in Provo, Utah. Vivint Solar is in the business of providing residential solar
                                                                   23   energy systems.
                                                                   24          17.   The term “Defendants” as used in this Complaint refers collectively to
                                                                   25   Vivint, and Vivint Solar.
                                                                   26          18.   Plaintiffs Troy Helton and Melanie Helton are individuals, husband and
                                                                   27   wife (collectively the “Heltons”), who reside in Murietta, California and are citizens
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                                                                    1   of California.
                                                                    2         19.     In or around April of 2014, Mr. Helton was solicited at his home in
                                                                    3   Murietta, California by a salesperson authorized to sell Vivint’s services. The
                                                                    4   salesperson informed Mr. Helton that he would need to verify home ownership, and
                                                                    5   asked for Mr. Helton’s full name and date of birth. The salesperson then submitted
                                                                    6   this information via telephone to Vivint who obtained Mr. Helton’s Credit Report
                                                                    7   without his authorization, and despite knowing that it did not have Mr. Helton’s
                                                                    8   authorization to do so. When Mr. Helton failed to qualify for the services being
                                                                    9   offered, the salesperson obtained Mrs. Helton’s full name and date of birth and
                                                                   10   provided it to Vivint who obtained her Credit Report, without her (or Mr. Helton’s)
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                                                                   11   authorization, and despite knowing that it did not have permission from either of the
                                                                        Heltons to do so.
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                                                                   13         20.    Vivint did not obtain the Heltons’ Credit Reports for the purpose of
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                                                                   14   offering either of them a “firm offer of credit or insurance,” nor did the Heltons
                                                                   15   subsequently receive or accept any subsequent offer of credit or insurance from
                                                                   16   Vivint.
                                                                   17         21.    Plaintiffs are informed and believe that the salesperson referenced above
                                                                   18   is part of a sales organization that utilizes salespeople who are trained by Vivint to use
                                                                   19   Vivint’s sales techniques and strategies.
                                                                   20         22.    Additionally, in or around April of 2014, Mr. Helton was solicited at his
                                                                   21   home in Murietta, California by a salesperson of a distributor authorized to sell Vivint
                                                                   22   Solar’s services. That distributor operates a sales operation using salespeople who are
                                                                   23   trained by Vivint Solar to use Vivint Solar’s sales techniques and strategies. Before
                                                                   24   Vivint Solar provided this solicitation to Mr. Helton, Vivint Solar obtained
                                                                   25   Mr. Helton’s Credit Report without his authorization and despite knowing that it did
                                                                   26   not have his authorization to do so.
                                                                   27         23.    Vivint Solar did not obtain Mr. Helton’s Credit Report for the purpose of
                                                                   28
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                                                                    1   offering him a “firm offer of credit or insurance,” nor did Mr. Helton subsequently
                                                                    2   receive or accept any subsequent offer of credit or insurance from Vivint Solar.
                                                                    3                              CLASS ACTION ALLEGATIONS
                                                                    4            24.   Pursuant to Federal Rules of Civil Procedure 23(a) and 23(b)(3),
                                                                    5   Plaintiffs bring this Class Action on behalf of themselves, and as representatives of
                                                                    6   the class. The class is defined to include all individuals for whom Defendants
                                                                    7   obtained Credit Reports from June 2009 through the present – without the prior
                                                                    8   authorization of those individuals.
                                                                    9            25.   The joinder of all class members in one action is impracticable. The
                                                                   10   putative class consists of thousands of class members. The class and class size will be
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                                                                   11   objectively ascertainable upon discovery of Defendants’ sales and operations records.
                                                                        The disposition of these persons’ claims in a class action will provide substantial
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                                                                   13   benefits to both the parties and the Court. The class is ascertainable and maintains a
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                                                                   14   sufficient community of interest. The rights of each member of the class were
                                                                   15   violated in a similar fashion based upon Defendants’ uniform wrongful conduct.
                                                                   16            26.   The class representatives’ claims are typical of the claims of the members
                                                                   17   of the class because the class representatives, and all other members of the class, were
                                                                   18   damaged by the same wrongful conduct committed by Defendants, as alleged herein.
                                                                   19   Moreover, the class representatives’ claims are typical because the class
                                                                   20   representatives, and all other members of the class, each have interests in the privacy
                                                                   21   and protection of their credit information.
                                                                   22            27.   Plaintiffs will fairly and adequately protect the interests of the class. The
                                                                   23   interests of the class representatives are coincident with, and not antagonistic to, the
                                                                   24   interests of the other members of the class. Plaintiffs are aware of their duties to the
                                                                   25   class.
                                                                   26            28.   Plaintiffs have retained counsel competent and experienced in the
                                                                   27   prosecution of class action litigation.
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                                                                    1         29.    Questions of law and fact common to the members of the class
                                                                    2   predominate over questions which may affect only individual members. Among the
                                                                    3   questions of law and fact common to the class are:
                                                                    4                (a)    Whether Defendants’ sales practices violate the Fair Credit
                                                                    5   Reporting Act;
                                                                    6                (b)    Whether Defendants obtained the Credit Reports of the class
                                                                    7   members without their authorization;
                                                                    8                (c)    Whether Defendants obtained the Credit Reports of the class
                                                                    9   members despite knowing that they did not have authorization to do so.
                                                                   10                (d)    Whether Defendants had a permissible purpose for obtaining the
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                                                                   11   Credit Reports of the class members; and
                                                                                     (e)    Whether Defendants acted willfully in violating the Fair Credit
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                                                                   13   Reporting Act.
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                                                                   14         30.    A class action is superior to other available methods for the fair and
                                                                   15   efficient adjudication of this controversy. The class members are so numerous that
                                                                   16   joinder of all members is impracticable. Class action treatment will permit a large
                                                                   17   number of similarly situated persons to prosecute their common claims in a single
                                                                   18   forum simultaneously, efficiently, and without the duplication of effort and expense
                                                                   19   that numerous individual actions would engender. The class members are unlikely to
                                                                   20   have an interest in individually litigating their claims due to the expenses of litigation
                                                                   21   and the small amount of statutory damages provided under the Fair Credit Reporting
                                                                   22   Act. There are no difficulties likely to be encountered in the management of this class
                                                                   23   action that would preclude its maintenance as a class action.
                                                                   24           CAUSE OF ACTION FOR VIOLATION OF THE FAIR CREDIT
                                                                   25                                     REPORTING ACT
                                                                   26         31.    Plaintiffs repeat and re-allege paragraphs 1 through 30 above, as if fully
                                                                   27   set forth herein.
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                                                                    1           32.   Defendants, hundreds of thousands of times per year, violate the Fair
                                                                    2   Credit Reporting Act by obtaining Credit Reports on potential customers of
                                                                    3   Defendants’ services – including Plaintiffs – without the potential customers’
                                                                    4   authorization.
                                                                    5           33.   Defendants, hundreds of thousands of times per year, violate the Fair
                                                                    6   Credit Reporting Act by obtaining Credit Reports on potential customers of
                                                                    7   Defendants’ services– including Plaintiffs – despite knowing that the potential
                                                                    8   customers have not provided authorization to do so.
                                                                    9           34.   Defendants, hundreds of thousands of times per year, violate the Fair
                                                                   10   Credit Reporting Act by obtaining Credit Reports on potential customers of
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                                                                   11   Defendants’ services – including Plaintiffs – without the potential customers’
                                                                        authorization and despite knowing that, or recklessly disregarding the fact that, such
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                                                                   13   practices violate the Act.
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                                                                   14           35.   Defendants have no permissible purpose for obtaining these Credit
                                                                   15   Reports.
                                                                   16           36.   Defendants did not obtain these Credit Reports for the purpose of
                                                                   17   offering potential customers– including Plaintiffs – a “firm offer of credit or
                                                                   18   insurance.”
                                                                   19           37.   As a result of Defendants’ misconduct herein described, Plaintiffs and
                                                                   20   members of the class have suffered actual damages in an amount to be proven at trial.
                                                                   21           38.   As a result of Defendants’ misconduct, Plaintiffs and the class are
                                                                   22   entitled to recover statutory damages, punitive damages, costs of suit, and attorney’s
                                                                   23   fees.
                                                                   24           39.   Pursuant to Federal Rules of Civil Procedure 23(a) and 23(b)(3),
                                                                   25   Plaintiffs and the class hereby request certification of the class, as well as statutory
                                                                   26   damages, punitive damages, attorney’s fees, costs, and expenses pursuant to the Act.
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                                                                    1                                     PRAYER FOR RELIEF
                                                                    2           Wherefore, Plaintiffs pray that this action be certified as a class, and that
                                                                    3   judgment be entered against Defendants, jointly and severally, as follows:
                                                                    4                    (a)   For actual damages in an amount to be determined and proven at
                                                                    5   time of trial;
                                                                    6                    (b)   For statutory damages in an amount to be determined and proven
                                                                    7   at time of trial;
                                                                    8                    (c)   For punitive damages in an amount to be determined and proven at
                                                                    9   time of trial;
                                                                   10                    (d)   For attorney’s fees;
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                                                                   11                    (e)   For interest thereon at the maximum legal rate;
                                                                                         (f)   For pre-judgment interest on all sums awarded at the maximum
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                                                                   13   legal rate;
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                                                                   14                    (g)   For the costs of litigation and investigation associated with this
                                                                   15   suit;
                                                                   16                    (h)   As no adequate remedy at law exists, for temporary, preliminary
                                                                   17   and permanent injunctive relief enjoining Defendants from obtaining individuals’
                                                                   18   Credit Reports without their authorization; and
                                                                   19                    (i)   For such other relief as the Court deems appropriate.
                                                                   20                                 DEMAND FOR JURY TRIAL
                                                                   21         Plaintiffs hereby request a jury trial on all claims permitted by law.
                                                                        Dated: September 11, 2014              THORSNES BARTOLOTTA McGUIRE LLP
                                                                   22

                                                                   23                                     By:                  /s/ Karen R. Frostrom
                                                                                                                  VINCENT J. BARTOLOTTA, JR., ESQ.
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                                                                   25                                             KEVIN F. QUINN, ESQ.
                                                                                                                  Attorneys for Plaintiffs Troy Helton and
                                                                   26                                             Melanie Helton, individually and on behalf of all
                                                                                                                  others similarly situated.
                                                                   27

                                                                   28                           [SIGNATURES CONTINUE NEXT PAGE]
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                                                                        Dated: September 11, 2014         LAW OFFICES OF WILLIAM L. CONTI
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                                                                                                          others similarly situated.
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